                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

 MOTHER DOE and FATHER DOE,
 on behalf of JOHN DOE., their minor child;         Case No. 3:23-cv-00498

                    Plaintiffs,

           v.                                       Judge Campbell
                                                    Magistrate Judge Holmes
 SUMNER COUNTY BOARD OF
 EDUCATION D/B/A SUMNER COUNTY                      JURY DEMAND
 SCHOOLS,

                    Defendant.

 ____________________________________________________________________________

                        AGREED PROTECTIVE ORDER 1
______________________________________________________________________________

       Upon agreement of the parties, as evidenced by their joint motion and agreed proposed

protective order, and to expedite the flow of discovery material, facilitate the prompt resolution of

discovery disputes, and to protect materials for discovery purposes that the parties’ contend is

entitled to be kept confidential, the Court ORDERS the following:

       The parties stipulate and agree that certain documents that may be provided during

discovery contain certain personal health information. The parties further stipulate and agree,

pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, that certain documents and

information that the parties requested and may request in discovery in this action may contain

confidential student records, including disciplinary files, protected from certain kinds of disclosure

under the Family Educational Rights and Privacy Act (“FERPA”), documents protected by a Board

policy or other privacy concerns, or other information that a party contends is proprietary


       1
          The Court’s substantive modifications to the parties’ agreed protective order are
delineated by striking through deleted language, if any, and underlining added language.
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 Case 3:23-cv-00498         Document 36        Filed 09/14/23       Page 1 of 10 PageID #: 374
information, which the parties assert must be protected from unauthorized disclosure for any

purpose other than the prosecution or defense of this lawsuit. Accordingly, these terms and

conditions shall govern the use and treatment of documents, tangible items, information,

testimony, and other materials that the producing party believes, in good faith, contain confidential

information:

                            PROTECTED HEALTH INFORMATION

           1.   This Protective Order governs the use and safeguarding of personal health

information that may be protected under the federal Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”). Protected Health Information will be treated in a manner

to protect its confidential nature. The parties acknowledge that protected health information may

be redacted, filed under seal, or treated with other reasonable precautions as the circumstances

dictate.

           2.   This Protective Order applies to Protected Health Information whether contained

in documents, deposition testimony, deposition exhibits, or any other written, recorded, electronic,

or graphic matter produced at any time during this proceeding, including Protected Health

Information produced prior to the entry of this Protective Order, but otherwise does not restrict use

of material obtained by means other than discovery in this proceeding.

           3.   Pursuant to 45 CFR § 164.512(e), the participants in this proceeding may only use

or disclose the Protected Health Information for the purposes of preparing for and conducting this

proceeding, and only in the manner prescribed herein. Protected Health Information shall not be

disclosed or discussed with any person except the Court; any participant in this proceeding;

counsel of record for this proceeding, and such employees and agents of such counsel (including

legal assistants, expert witnesses, consultants, vendors, court reporters, and other persons


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 Case 3:23-cv-00498         Document 36        Filed 09/14/23      Page 2 of 10 PageID #: 375
employed and supervised by such counsel) necessary to assist such counsel; any witness; or any

other person permitted by order of this Court. Such persons shall be made aware of this Protective

Order and shall be fully bound by it. Each person who is provided in any manner (including by

reviewing or being shown such information by summary or description) Protected Health

Information (and/or information derived therefrom) is prohibited from using the information for

any purpose other than this proceeding. See 45 C.F.R. § 164.502(b).

       4.        The parties are hereby granted the right, upon compliance with the applicable

discovery provisions of the Federal Rules of Civil Procedure and the orders of this court, to obtain

from any health care provider, health plan, or other entity covered by the HIPAA, any and all

information relating to the past, present, future medical condition of any individual who is a party

to this action, as well as, any and all information relating to the provision of health care to such

individual and payment for the provision of such health care (collectively the “Protectable Health

Information”).

       5.        This Protective Order authorizes any third-party who is provided with a subpoena

requesting the production of documents or commanding attendance at deposition or trial to disclose

the Protected Health Information in response to such request or subpoena.

       6.        This Protective Order is intended to authorize such disclosures under the privacy

regulations issued pursuant to HIPAA. 45 C.F.R. § 164.512(e)(1)(i).

       7.        The prohibitions of this Protective Order do not apply to the parties’ use of their

own Protectable Health Information.

       8.        Promptly upon the conclusion of this proceeding, consistent with paragraph 18, all

Protected Health Information shall be returned to the person that produced such material or shall

be destroyed (including all copies made) unless the Court orders otherwise. Notwithstanding the


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 Case 3:23-cv-00498          Document 36        Filed 09/14/23     Page 3 of 10 PageID #: 376
foregoing, counsel may retain attorney work product concerning or incorporating the Protectable

Health Information.

                         AGREED CONFIDENTIALITY PROCEDURES

        9.      Any party or nonparty producing documents and written information during

discovery in this matter which a party contends are confidential in nature may designated them as

such. 2 Such designation shall be made by placing on the face of the material the designation

“CONFIDENTIAL.” Duplicate copies shall also be deemed “CONFIDENTIAL.” A party’s

designation of documents or other material as “CONFIDENTIAL” is not binding on the Court,

including for any determination of whether to restrict public access to such information if offered

as part of the record in this case.

        10.     Counsel for any party or any witness may designate the transcript (or any other

portion thereof) of any deposition as “CONFIDENTIAL” by so stating on the record of the

deposition or by doing so within seven (7) days of receipt of the transcript of the deposition.

        11.     A party may object to the designation of documents and/or information as

confidential by serving written notice of its objection upon the party that submitted the

document(s), specifying therein the document(s) and/or information to which the objection is

made. The parties shall attempt to resolve the dispute in accordance with the discovery dispute

resolution procedures in place in this case. The disputed document(s) and/or information shall

remain CONFIDENTIAL pending resolution by the Court, including any allowed motion.




2
  The designation of a document as “CONFIDENTIAL” pursuant to this Protective Order is not
an admission that that the document is in fact protected by either HIPAA or FERPA. Rather, this
Protective Order is being entered into as a precautionary measure in order to protect sensitive
information that may or may not be covered by HIPAA or FERPA.
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    Case 3:23-cv-00498       Document 36       Filed 09/14/23      Page 4 of 10 PageID #: 377
        12.       Except as otherwise provided herein, documents, deposition transcripts, and any

other information designated as “CONFIDENTIAL” pursuant to this Protective Order, and any

information contained therein, and any notes, abstracts or summaries made therefrom, shall not be

thereafter disclosed in any manner to anyone other than the parties herein, their respective counsel,

including legal assistants or other regular law firm employees working under counsel’s supervision

who are involved in the prosecution or defense of this action, and persons employed by or assisting

counsel in preparation for, or at the trial of this action, including experts which counsel may consult

(but not lay witnesses), and all such information shall be used solely for the prosecution or defense

of this action.

        13.       If counsel for any party determines that the defenses or prosecution of this action

requires that material which has been designated as “CONFIDENTIAL” pursuant to this Protective

Order, including depositions, be disclosed for any purpose to persons not otherwise authorized

herein, written notice that such party intends to seek permission of the Court to make such

disclosure, identifying the otherwise unauthorized person and designating the information desired

to be disclosed, must be made to the party who submitted the documents or information not less

than seven (7) days prior to the intended disclosure. If within seven (7) days after the receipt of

notice, the party who submitted the documents or information makes a written objection to the

party giving the notice, the “CONFIDENTIAL” material shall not be disclosed unless the Court

so orders. If timely written objection is not made, the party who submitted the documents or

information shall be deemed to have waived any objection to the disclosure of the designated

information to the identified person only, and such disclosure may proceed without further order

of the Court. Before disclosure of any “CONFIDENTIAL” materials may be made to persons not

otherwise authorized herein, whether by Court order or otherwise, the persons to whom such


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 Case 3:23-cv-00498           Document 36        Filed 09/14/23     Page 5 of 10 PageID #: 378
disclosure is to be made must agree to be bound by the terms of this Protective Order, including

the conditions set forth in paragraph 14 below, and execute the agreement set for in Exhibit A

hereto.

          14.   Each person to whom disclosure of any “CONFIDENTIAL” material is made in

accordance with this Protective Order is hereby prohibited from divulging any of the materials so

obtained without proper authorization, or from exploiting in any way such materials for his or her

own benefit, or from using such material for any purpose or in any manner not directly related to

the prosecution or defense of this action.

          15.   The designation of material as “CONFIDENTIAL” pursuant to this Protective

Order, shall not affect the material’s admissibility at trial or the Court’s determination as to whether

it shall be received into evidence at trial, nor shall such designation constitute the authentication

of such material or a waiver of any right to challenge the relevance, confidentiality, or admissibility

of such material. Nor shall such designation affect the Court’s determination of whether to restrict

public access to such information if offered as part of the record in this case.

          16.   Any motion to seal documents or portions of documents containing information

designated as “CONFIDENTIAL” must be filed in accordance with the Local Rule 5.03 and

applicable Sixth Circuit standards.

          17.   Upon final disposition of this action, including the exhaustion of any appellate

proceedings, all materials which have been designated as “CONFIDENTIAL” pursuant to this

Protective Order and all copies, excerpts or extracts, except for such material which has become

part of the record of this action, shall be returned to the person producing the material or destroyed

within sixty (60) days. Should counsel elect to comply with this paragraph by destroying such

material, such counsel shall provide a letter to opposing counsel certifying that such destruction


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 Case 3:23-cv-00498          Document 36        Filed 09/14/23       Page 6 of 10 PageID #: 379
has been conducted in a manner eliminating the possibility of disclosure to or reconstruction of

such “CONFIDENTIAL” material by third parties.

       18.     The parties hereto may modify the provisions of this Protective Order at any time,

by (a) stipulation signed by all parties hereto and approved by order of the Court, or (b) upon

motion and subsequent order of this Court.

       19.     This Protective Order has no effect upon, and shall not apply to, the parties’ use of

their own documents, tangible items, information, and other materials.

       20.     This Protective Order shall be binding upon all parties to this lawsuit, as well as all

persons who received CONFIDENTIAL information. The parties stipulate that the Court shall

retain jurisdiction over them and over any person to whom confidential information is disclosed,

without limitation, to the extent necessary to enforce the terms of this Protective Order.

       21.     Nothing in this Order, including the designation of information as “Confidential

Information” or “Attorneys’ Only Information,” shall be relied upon as, construed as, or deemed

a determination by the Court of the nature of such information, including whether such information

is confidential or otherwise protected from disclosure. Nor shall anything in this Order, including

the designation of information as “Confidential Information” or “Attorneys’ Only Information,”

be relied upon as, construed as, or deemed a determination by the Court of the propriety of

restricting public access to such information if used or offered in this case.

       All of the foregoing is so ORDERED.




                                               BARBARA D. HOLMES
                                               United States Magistrate Judge




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 Case 3:23-cv-00498         Document 36         Filed 09/14/23      Page 7 of 10 PageID #: 380
AGREED TO BY:



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                                               8

 Case 3:23-cv-00498        Document 36       Filed 09/14/23   Page 8 of 10 PageID #: 381
                                          EXHIBIT A

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

 MOTHER DOE and FATHER DOE,
 on behalf of JOHN DOE., their minor child;         Case No. 3:23-cv-00498

                    Plaintiffs,

          v.                                        Judge Campbell
                                                    Magistrate Judge Holmes
 SUMNER COUNTY BOARD OF
 EDUCATION D/B/A SUMNER COUNTY                      JURY DEMAND
 SCHOOLS,

                    Defendant.

 ____________________________________________________________________________

                       CONFIDENTIALITY AGREEMENT
______________________________________________________________________________

         I, _______________________________, hereby affirm that:

         1.    Information, including documents and things, designated as CONFIDENTIAL as

defined in the Protective Order entered in the above-captioned case (“Protective Order”), is being

provided to me pursuant to the terms and restrictions of the Protective Order. I have been given a

copy of and have read the Protective Order.

         2.    I am familiar with the terms of the Protective Order, and I agree to comply with and

to be bound by its terms. I submit to the jurisdiction of the United States District Court of the

Middle District of Tennessee for enforcement and any remedies for violations of the Protective

Order.

         3.    I agree not use any CONFIDENTIAL information disclosed to me pursuant to the

Protective Order except for purposes of the above-captioned litigation and not to disclose any of

this information to persons other than those specifically authorized by the Protective Order,
                                                9

 Case 3:23-cv-00498         Document 36       Filed 09/14/23      Page 9 of 10 PageID #: 382
without the express written consent of the party who designated the information as confidential or

by order of the presiding judge. I also agree to notify any stenographic clerical, or technical

personnel who are required to assist me of the terms of this Protective Order and of its binding

effect on them and me.

       4.      I understand that I am to retain all documents and materials designated as or

containing CONFIDENTIAL information in a secure manner, and that all such documents and

materials are to remain in my personal custody until the completion of my assigned duties in this

matter, whereupon all such documents and materials, including all copies thereof, and any writings

prepared by me containing any CONFIDENTIAL information are to be returned to counsel who

provided me with such documents and materials.




                                                    Signature:


                                                    ____________________________________

                                                    Printed Name:


                                                    ____________________________________

                                                    Date:

                                                    ____________________________________


Sworn to and subscribed before me,
this ____ day of ______________, ____.

_______________________________
Notary Public
My Commission Expires: __________


                                               10

Case 3:23-cv-00498        Document 36        Filed 09/14/23      Page 10 of 10 PageID #: 383
